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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
LUIS LUCERO, JOAQUIN COLIN, and
JOSE ARGUETA,
individually and on behalf of all others
similarly situated,

                                            Plaintiffs,                 REPORT &
                                                                     RECOMMENDATION
                          -against-
                                                                     21-CV-8675 (LGS) (JW)
SHAKER CONTRACTORS, CORP. and
SHER GUL,

                                             Defendants.
-----------------------------------------------------------------X
TO THE HONORABLE LORNA G. SCHOFIELD, U.S.D.J.:

        Before this court is a reference for a damages inquest as to defaulting

defendants Shaker Contractors, Corp. (“Shaker Contractors”) and Sher Gul

(collectively, “Defendants”). For the following reasons, I recommend that Plaintiffs

Luis Lucero, (“Plaintiff Lucero”) Joaquin Colin (“Plaintiff Colin”), and Jose Argueta

(“Plaintiff Argueta,” collectively the “Plaintiffs”) be awarded damages from

Defendants under the New York Labor Law (“NYLL”) for failure to pay overtime, and

spread of hour wages, liquidated damages, statutory damages, pre-judgment interest,

plus post-judgment interest, attorneys’ fees and costs.

                                          BACKGROUND

    A. Factual Background

        Given Defendants’ default, Plaintiffs’ factual allegations in the Complaint,

dated October 22, 2021, (Dkt. No. 1) except those related to damages, are accepted as

true and Plaintiffs are entitled to all reasonable inferences in their favor. See Finkel
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v. Romanowicz, 577 F.3d 79, 84 (2d Cir. 2009) (citing Au Bon Pain Corp. v. Artect,

Inc., 653 F.2d 61, 65 (2d Cir.1981)). With respect to Plaintiffs’ claims for damages,

Plaintiffs have submitted their Proposed Findings of Fact and Conclusions of Law,

dated March, 15, 2022 (Dkt. No. 29) (“Proposed Findings”), with supporting

declarations and exhibits (Dkt. Nos. 30-31), which have been submitted in connection

with this damages inquest.

      Plaintiffs each worked as construction workers for Defendant, Shaker

Contractors, Corp., with its principal place of business located at 245 Throgs Neck

Boulevard, Bronx, New York, 10465. Proposed Findings ¶¶ 1,5. Shaker Contractors

offers residential and commercial construction services throughout greater New

York. Compl. ¶ 9. Plaintiffs primarily assembled scaffolding, installed roofs, laid

bricks, undertook demolition, and completed other general construction work at

various job sites while employed by Shaker. Proposed Findings ¶ 6. Individual

Defendant, Sher Gul controlled the operations of Shaker Contractors and exercised

significant control over employees, including the power to hire and terminate

employees, set work schedules, maintain employment records, determine the rate of

pay, compensate employees, and supervise the work performed. Proposed Findings

¶ 2; Compl. ¶¶ 11-14. As joint employers, Defendants “jointly managed, supervised,

hired,” terminated and exerted control over Plaintiffs. Compl. ¶ 15. Throughout the

duration of their employment, Plaintiffs were classified as non-exempt employees.

Compl. ¶ 49. Plaintiffs worked for Defendants for various time periods from 2003

until 2021. Compl. ¶ 25.

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        Plaintiffs claim that, although they “routinely” worked in excess of 40 hours

per week, they did not receive overtime compensation. Compl. ¶ 50. Plaintiffs further

allege that Defendants failed to provide Plaintiffs with “statutory payroll notices and

wage statements” as required by the NYLL §§ 195(1), 195(3). Compl. ¶¶ 53-55.

Plaintiffs also allege that Defendants failed to timely pay wages no “later than seven

(7) calendar days after the end of the week in which wages were earned.” Compl. ¶

90.

        In addition, Plaintiff Argueta alleges that Defendants did not compensate him

with the applicable New York State minimum wage for all hours worked and spread-

of-hours pay. Compl. ¶¶ 51-52.

      B. Procedural History

        Plaintiffs commenced this action by filing a Complaint on October 22, 2021

(Dkt. No. 1). Defendants were served with copies of the Summons and Complaint on

November 4, 2021 (Dkt. Nos. 7 and 8). The Complaint asserts the following causes of

action: (1) unpaid overtime wages under the Fair Labor Standards Act (FLSA); (2)

unpaid minimum and overtime wages under the New York Labor Law (NYLL); (3)

unpaid spread of hours wages under the NYLL; (4) failure to provide payroll notices

and wage statements under the NYLL; (5) failure to timely pay wages under the

NYLL.

        The Honorable Lorna G. Schofield, U.S.D.J., ordered Defendants to respond to

the Complaint by November 16, 2021 (ECF No. 8). Defendants failed to answer or

respond. Plaintiffs requested that the Clerk of Court make an entry of default

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judgment. (Dkt. Nos. 10-11.) Certificates of default were issued to Defendants (Dkt.

Nos. 13 and 14) and Judge Schofield issued an order requiring Plaintiffs to re-file for

default judgment by January 19, 2022 (Dkt. No. 15). On January 19, 2022, Plaintiffs

filed a Motion for Default Judgment as to all Defendants (Dkt. No. 17). Defendants

failed to retain counsel or appear at the hearing (Dkt. No. 25); Judge Schofield

entered a default judgment in favor of Plaintiffs dated February 7, 2022. Id.

      Judge Schofield referred this case to the Honorable Jennifer E. Willis, U.S.M.J.

on February 10, 2022 (Dkt. No. 26). Subsequently, Judge Willis ordered Plaintiffs to

file proposed findings of fact and conclusions of law, and an inquest memorandum of

law accompanied by supporting affidavits and exhibits to establish proof of damages

by March 15, 2022 (Dkt. No. 27). Plaintiffs served the papers on Defendants on

February 17, 2022. (Dkt. No. 28). Plaintiffs complied with the order and on March

15, 2022, filed the Proposed Findings of Fact and Conclusions of Law (Dkt. No. 29),

the Declaration of Adam Sackowitz (Dkt. No. 31) (“Sackowitz Decl.”), and the Inquest

Memorandum of Law (Dkt. No. 32) (“Inquest Mem.”).

                                  DISCUSSION

   1. Applicable Legal Standards

      A party’s default is a concession of all factual allegations of liability against the

defaulting party, except those relating to damages. Greyhound Exhibitgroup, Inc. v.

E.L.U.L. Realty Corp., 973 F.2d 155, 158 (2d Cir. 1992). While there is no question

that a default judgment establishes liability, a default is not an admission of

conclusions of law or damages. Tackie v. Keff Enterprises LLC, No. 14-CV-2074

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(JPO), 2014 WL 4626229, at *1 (S.D.N.Y. Sept. 16, 2014). The court must assess

whether the well-pleaded allegations in the complaint comprise a legitimate cause of

action or establish a legal foundation for liability. In re Indus. Diamonds Antitrust

Litig., 119 F. Supp. 2d 418, 420 (S.D.N.Y. 2000).

      Where a plaintiff has sufficiently pleaded a claim and is entitled to relief,

courts conduct an inquiry to determine actual or statutory damages. Pastrana v. Mr.

Taco LLC, No. 18-CV-09374 (GBD) (SN), 2022 WL 16857111, at *2 (S.D.N.Y. Sept.

23, 2022), report and recommendation adopted, No. 18-CV-9374 (GBD) (SN), 2022

WL 16857107 (S.D.N.Y. Nov. 10, 2022).

      To obtain entry of a default judgment, the plaintiff has the burden to present

evidence sufficient to establish damages with reasonable certainty. Tackie, 2014 WL

4626229 at *1; see Trehan v. Von Tarkanyi, 63 B.R. 1001, 1008 n.12 (S.D.N.Y. 1986);

Greyhound Exhibitgroup, Inc., 973 F.2d at 159; see Tapia v. Blch 3rd Ave. LLC, No.

14-CV-8529 (AJN), 2016 WL 4581341, at *4 (S.D.N.Y. Sept. 1, 2016) (under the FLSA

and the NYLL, “[p]laintiffs bear the burden of proof to establish all claims and

damages by a preponderance of the evidence”).

      “Absent employer records,” a plaintiff has a low evidentiary threshold to prove

that employers did not properly compensate them for work that they performed.

Hernandez Gomez v. 4 Runners, Inc., 769 F. App'x 1, 2 (2d Cir. 2019). Adequate

evidence to support “the amount and extent” of uncompensated work “as a matter of

just and reasonable inference” can be satisfied with a plaintiff’s estimates based on

their own recollection. Id. When a defendant defaults, courts have presumed a

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plaintiff’s recollection and estimate of hours to be correct. See Zhang v. Hiro Sushi

at Ollies, Inc., No. 17-CV-7066 (JPC), 2022 WL 2668263, at *5 (S.D.N.Y. July 11,

2022); see e.g., Kuebel v. Black & Decker Inc., 643 F.3d 352, 362 (2d Cir. 2011);

Magnoni v. Smith & Laquercia, LLP, 661 F. Supp. 2d 412, 417–18 (S.D.N.Y. 2009).

The plaintiff is entitled to all reasonable inferences from the evidence offered in their

favor. Finkel, 577 F.3d at 84.

      In turn, employers must present evidence to negate the “reasonableness of the

inference to be drawn from the employee’s evidence” or proof of the exact number of

hours worked. Hernandez Gomez, 769 F. App'x at 2. Should a defaulting defendant

fail to submit evidence or bring forth inaccurate or incomplete records, courts apply

a burden-shifting scheme to evaluate whether the plaintiff has established an

adequate basis to calculate damages. Almanzar v. 1342 St. Nicholas Ave. Rest. Corp.,

No. 14-CV-7850 (VEC) (DF), 2016 WL 8650464, at *5 (S.D.N.Y. Nov. 7, 2016), report

and recommendation adopted, No. 14-CV-7850 (VEC) (DCF), 2017 WL 1194682

(S.D.N.Y. Mar. 30, 2017). Where a defendant fails to respond to the complaint, courts

have sound discretion and are ordinarily justified in granting a default judgment

against the defaulting party. SEC v. Anticevic, No. 05-CV-6991 (KMW), 2009 WL

4250508, at *2 (S.D.N.Y. Nov. 30, 2009) (citing Bermudez v. Reid, 733 F.2d 18, 21 (2d

Cir.1984)); see Fed. R. Civ.P. 55(b)(2); cf. Bermudez v. Reid, 733 F.2d 18, 21–22 (2d

Cir. 1984) (holding that the Southern District of New York should not have granted

a default judgment because habeas proceedings differed from ordinary civil cases and

warranted a hearing to review the merits of the petitioner’s claims). A default

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judgment “should be made only where there was willful default, more than mere

negligence or carelessness.” E. Freight Ways, Inc. v. E. Motor Freight, Inc., No. 02-

CV-3138 (LTS) (AJP), 2003 WL 21355486, at *2 (S.D.N.Y. June 11, 2003).

      Courts are not required to conduct a hearing “if there is a basis for

the damages specified in the default judgment.” Fermin v. Las Delicias Peruanas

Rest., Inc., 93 F. Supp. 3d 19, 29 (E.D.N.Y. 2015); see also Cement & Concrete

Workers Dist. Council Welfare Fund, Pension Fund, Annuity Fund, Educ. & Training

Fund & Other Funds v. Metro Found. Contractors Inc., 699 F.3d 230, 234 (2d Cir.

2012). The Court may conduct an analysis of plaintiff’s damages claim based solely

on the plaintiff’s submitted evidence and award damages “even though the result may

only be approximate.” Reich v. S. New England Telecommunications Corp., 121 F.3d

58, 67 (2d Cir. 1997). Rule 55(b)(2) of the Federal Rules of Civil Procedure permits

“but does not require the district judge to conduct a hearing.” Tamarin v. Adam

Caterers, Inc., 13 F.3d 51, 53 (2d Cir. 1993). District courts have sound discretion to

determine whether it is “necessary and proper” to conduct hearings on damages. Id.

at 54; Fed. R. Civ. P. 55. A court has discretion on the amount of evidence required

to evaluate the proposed damages claim. See Tamarin, 13 F.3d at 54 (assessing

“damages with the aid of a single affidavit only partially based on real numbers”); see

also Fustok v. ContiCommodity Servs., Inc., 873 F.2d 38, 40 (2d Cir. 1989) (relying

on “detailed affidavits” and documented proof to determine damages).

      The burden-shifting standards are similar under both the FLSA and the

NYLL.    Gamero v. Koodo Sushi Corp., 272 F. Supp. 3d 481, 497 (S.D.N.Y.

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2017), aff'd, 752 F. App'x 33 (2d Cir. 2018). Under the NYLL, employers are subject

to a “more stringent burden of proof” upon failure to maintain adequate records or

statements of wages to employees, “the employer in violation” must prove the

“complaining employee was paid wages, benefits, and wage supplements.” Id.; N.Y.

Lab. Law § 196-a(a).

      By failing to appear and respond to the Complaint, Defendants have conceded

Plaintiffs’ well-pleaded allegations of liability. Tackie, 2014 WL 4626229 at *1.

   2. Determination of Damages

           1. Recovery under the NYLL

      With the Defendants already held in default, the Court must now assess

damages.

      Plaintiffs assert overtime violations and liquidated damages under both the

FLSA and the NYLL. While Defendants are liable under both federal and state

statutes for failure to pay Plaintiffs for overtime, the law in the Second Circuit clearly

dictates that plaintiffs may not recover for the same injury twice under both the FLSA

and the NYLL. Hengjin Sun v. China 1221, Inc., No. 12-CV-7135 (RJS), 2016 WL

1587242, at *2 (S.D.N.Y. Apr. 19, 2016). Instead of duplicate recovery, Plaintiffs may

recover once “under the statute which provides the greatest amount of damages.”

Jiao v. Shi Ya Chen, No. 03-CV-0165 (DF), 2007 WL 4944767, at *17 (S.D.N.Y. Mar.

30, 2007). Both the FLSA and the NYLL require employers to compensate employees

overtime wages at a rate one and one-half times the regular rate for hours worked in

excess of forty hours in a work week. 29 U.S.C. § 207(a)(1); 12 N.Y.C.R.R. § 146-1.4.

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(effective Jan. 1, 2011).    Given that the NYLL mirrors the FLSA overtime

requirements, we turn to the statute of limitations to determine which standard

provides the greatest measure of relief.

         2. Impact of the Longer Statutory Period under the NYLL

      The FLSA has a two-tiered statute of limitations period to distinguish between

ordinary and willful violations. McLaughlin v. Richland Shoe Co., 486 U.S. 128, 132

(1988). “[F]or unpaid minimum wages, unpaid overtime compensation, or liquidated

damages,” the statute of limitations period for a FLSA action is two years. 29 U.S.C.

§ 255. When an employer’s violations were willful and consisted of conduct that they

knew or showed reckless disregard as to whether the actions would be prohibited by

the FLSA, the statute of limitations period is three years. Zhang, 2022 WL 2668263,

at *7; McLaughlin, 486 U.S. at 133.

      The applicable statute of limitations period under the NYLL is six years. N.Y.

Lab. Law § 663. In addition to providing a longer recovery period for plaintiffs’

damages, the NYLL “sets a minimum wage that is the same or greater than that

provided by the FLSA.” Angamarca v. Pita Grill 7 Inc., No. 11-CV-7777 (JGK) (JLC),

2012 WL 3578781, at *4 (S.D.N.Y. Aug. 2, 2012). Plaintiffs’ damages under the NYLL

will subsume their recovery under the FLSA because of the longer statute of

limitations period covered by the NYLL. Accordingly, although the Defendants are

liable under both statutes, the court should apply the NYLL period to award the

highest amount of damages.



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         3. Unpaid Overtime Wage Claims

      Like the FLSA, the NYLL sets the overtime hourly pay at one and one-half

times the employee’s regular hourly “rate for hours worked in excess of 40 hours in

one workweek.” 12 N.Y.C.R.R § 142-2.2. An employee’s appropriate overtime pay is

“calculated by multiplying his regular hourly rate by one and one-half.” Xochimitl v.

Pita Grill of Hell's Kitchen, Inc., No. 14-CV-10234 (JGK) (JLC), 2016 WL 4704917, at

*7 (S.D.N.Y. Sept. 8, 2016), report and recommendation adopted sub nom., No. 14-

CV-10234 (JGK), 2016 WL 6879258 (S.D.N.Y. Nov. 21, 2016). Under the NYLL, the

overtime hourly pay shall be one and one-half times the employee’s regular hourly

“rate for hours worked in excess of 40 hours in one workweek.” 12 N.Y.C.R.R. § 146-

1.4. Then multiply that rate “by the number of hours in excess of forty hours the

employee worked each week.”          Id.    The resulting amount represents the

uncompensated overtime wages that the employee should be awarded. Rosendo v.

Everbrighten Inc., No. 13-CV-7256 (JGK) (FM), 2015 WL 1600057, at *4 (S.D.N.Y.

Apr. 7, 2015), report and recommendation adopted, No. 13-CV-7256 (JGK), 2015 WL

4557147 (S.D.N.Y. July 28, 2015).

      Plaintiffs’ counsel offers breakdowns for each of the three Plaintiffs with

information regarding the employment period, the daily salary, calculated regular

and overtime rates, regular and overtime hours worked per week, and estimated

damages calculations. See Sackowitz Decl. Ex. A at 2. To compute each Plaintiff’s

overtime pay, the Court first determines each Plaintiff’s regular hourly rate. To do

so, each Plaintiff’s daily salary is multiplied by the number of days they worked each

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week. That amount is then divided by the number of hours each Plaintiff worked on

a weekly basis. Inquest Mem. at 12. The regular hourly wage is multiplied by 1.5 to

calculate each Plaintiff’s lawful overtime wage. The lawful overtime wage is then

multiplied by the overtime hours worked per week, to compute each Plaintiff’s weekly

underpayment. This total amount is then multiplied by the weeks in each pay period

to calculate each Plaintiff’s unpaid overtime damages.

             Plaintiff Lucero alleges that throughout his employment with Defendants, he

worked approximately 50 hours per week, 6 days a week. Compl. ¶¶ 28-29. Plaintiff

Lucero also alleges that he received a fixed daily rate of $55.00 at the start of his

employment in 2003, which increased by $5.00 to $10.00 per day until his daily rate

reached $170.000 in or around January 2019. Compl. ¶¶ 30-32. The overtime pay

for the relevant time periods for Plaintiff Lucero was $25.20 in 2015; $26.55 in 2016;

$27.90 in 2017; $29.25 in 2018; and $30.60 in 2019.1

                                            Plaintiff Luis Lucero
    Pay          Week    Hour    Daily    Hourl Lawful       OT      Weekly    Lawful    Underpayme
    Period       s in    s Per   Salary   y       Overti     Hours   Pay       weekly    nt per Week
                 Pay     Wee              Wage me            Worke             Pay
                 Perio   k                        Wage       d Per
                 d                                           Week
    10/22/201    10      50      $140.0   $16.8 $25.20       10      $840.00   $1,092.   $252.00
    5-                           0        0                                    00
    12/31/201
    5
    01/01/201    52      50      $147.5   $17.7   $26.55   10        $885.00   $1,150.   $265.50
    6-                           0        0                                    50


1As illustrated in the charts below, the Court calculated each Plaintiff’s damages with
information for their daily salaries and the number of weeks that each Plaintiff
worked in the various pay periods from the Sackowitz Decl. Ex. A. Sackowitz Decl.
Ex. A at 2-4. The Inquest Mem. provided the Court with each Plaintiffs’ regular
hourly rate of pay and the total number of hours that Plaintiff Lucero worked. See
Inquest Mem. at 11-12.
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 12/31/201
 6
 01/01/201   52   50    $155.0   $18.6   $27.90   10   $930.00   $1,209.   $279.00
 7-                     0        0                               00
 12/31/201
 7
 01/01/201   52   50    $162.5   $19.5   $29.25   10   $975.00   $1,267.   $292.50
 8-                     0        0                               50
 12/31/201
 8
 01/01/201   22   50    $170.0   $20.4   $30.60   10   $1,020.   $1,326.   $306.00
 9-                     0        0                     00        00
 06/03/201
 9



   Thus, Plaintiff Lucero is entitled to damages as follows: $2,520.00 for weeks

worked in 2015; $13,806.00 for weeks worked in 2016; $14,508.00 for weeks worked

in 2017; $15,210.00 for weeks worked in 2018; and $6,732.00 for weeks worked in

2019.   In total, Plaintiff Lucero’s damages for unpaid overtime wages come to

$52,776.00.

   Plaintiff Colin alleges that from October 2015 until April 2017, he typically

worked for a total of 58 hours per week, seven days a week. Compl. ¶¶ 33-35. Around

May 2017, Plaintiff Colin’s schedule changed to 50 hours per week, six days a week.

Compl. ¶ 36; Inquest Mem. at 13. For the rest of his employment, Plaintiff Colin

worked 50 hours per week, six days a week but one week per month, he “worked seven

(7) days for a total of fifty-eight 58 hours per week.” Id. at 2. Plaintiff Colin also

received a fixed daily rate regardless of the number of hours he worked per week.

Compl. ¶ 38. In addition, he alleges that from October 2015 until March 2019, he

received $200.00 daily, which later increased to $210.00 per day around April 2019.



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Compl. ¶¶ 39-40.             As such, Plaintiff Colin’s damages for unpaid overtime are

calculated as below:

                                          Plaintiff Joaquin Colin2
    Pay         Week    Hour    Daily    Hourl Lawful       OT       Weekly    Lawful    Underpayme
    Period      s in    s Per   Salary   y        Overti    Hours    Pay       weekly    nt per Week
                Pay     Wee              Wage me            Worke              Pay
                Perio   k                         Wage      d Per
                d                                           Week
    10/22/201   10      58      $200.0   $24.1 $36.21       18       $1,400.   $2,051.   $651.78
    5-                          0        4                           00        78
    12/31/201
    5
    01/01/201   52      58      $200.0   $24.1   $36.21    18        $1,400.   $2,051.   $651.78
    6-                          0        4                           00        78
    12/31/201
    6
    01/01/201   17      58      $200.0   $24.1   $36.21    18        $1,400.   $2,051.   $651.78
    7-                          0        4                           00        78
    04/30/201
    7
    05/01/201   35      52      $200.0   $23.0   $34.62    12        $1,200.   $1,615.   $415.44
    7-                          0        8                           00        44
    12/31/201
    7
    01/01/201   52      52      $200.0   $23.0   $34.62    12        $1,200.   $1,615.   $415.44
    8-                          0        8                           00        44
    12/31/201
    8
    01/01/201   13      52      $200.0   $23.0   $34.62    12        $1,200.   $1,615.   $415.44
    9-                          0        8                           00        44
    03/31/201
    9
    04/01/201   39      52      $210.0   $24.2   $36.35    12        $1,260.   $1,615.   $436.14
    9-                          0        3                           00        44
    12/31/201
    9
    01/01/202   43      52      $210.0   $24.2   $36.35    12        $1,260.   $1,615.   $436.14
    0-                          0        3                           00        44
    10/31/202
    0




2The Court calculated the 52 hours per week from 05/01/2017 to 10/31/2020 based on
an average of 50 hours per week with one 58-hour week each month, from May 2017
until the end of Plaintiff Colin’s employment. Inquest Mem. at 2.
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   Based on the calculations in the chart above, the overtime pay for Plaintiff Colin

for the relevant periods was $36.21 for October 2015 to April 2017, $34.62 for May

2017 to March 2019, and $36.35 for April 2019 to October 2020. See Inquest Mem.

at 13. Plaintiff Colin is therefore entitled to damages as follows: $6,517.80 for weeks

worked 2015; $33,892.56 for weeks worked in 2016; $11,080.26 for January to April

2017; $14,540.40 from May to December 2017; $21,602.88 for weeks worked in 2018;

$5,400.72 for weeks worked from January to March 2019; $17,009.46 for weeks

worked from April to December 2019; and $18,754.02 for weeks worked from January

to October 2020. Plaintiff Colin’s damages for unpaid overtime wages amount to

$128,798.10.

   Plaintiff Argueta alleges that while employed by Defendants, he regularly worked

seven days per week for a total of 58 hours per week. Compl. ¶¶ 42-43. In addition,

four days a week, Plaintiff Argueta stayed late to “guard the freshly laid concrete

until it dried,” therefore bringing his total hours worked to 78 hours per week. Compl.

¶ 44. For the excess hours Plaintiff Argueta worked to guard concrete, he received a

fixed additional weekly payment of $40.00 as compensation. Compl. ¶ 48. As with

the other Plaintiffs, Plaintiff Argueta also received a fixed daily rate regardless the

hours he worked each week. Compl. ¶ 45. Plaintiff Argueta’s rate of pay increased

by $5.00 to $10.00 a day until it reached $170.00 per day by January 2019. Compl. ¶

47. As shown in the chart below, Plaintiff Argueta’s overtime pay for the relevant

periods was $19.62 in 2015, $20.63 in 2016, $21.63 in 2017, $22.65 in 2018, and

$23.65 from January 2019 to January 2021. See Inquest Mem. at 14.

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                                          Plaintiff Jose Argueta
    Pay        Wee     Hour    Daily    Hourly      Lawf    OT       Weekly     Lawful     Underpay
    Period     ks in   s Per   Salary   Wage        ul      Hours    Pay        weekly     ment per
               Pay     Wee              (include Overt Work                     Pay        Week
               Perio   k                s    $40 ime        ed Per
               d                        per         Wage Week
                                        week in
                                        addition
                                        to
                                        Plaintiff
                                        Argueta
                                        ’s daily
                                        wages)3
    10/22/20   10      78      $140.0   $13.08      $19.6 38         $1,020.0   $1,765.5   $745.56
    15-                        0                    2                0          6
    12/31/20
    15
    01/01/20   52      78      $147.5   $13.75    $20.6    38        $1,072.5   $1,856.4   $783.94
    16-                        0                  3                  0          4
    12/31/20
    16
    01/01/20   52      78      $155.0   $14.42    $21.6    38        $1,125.0   $1,946.9   $821.94
    17-                        0                  3                  0          4
    12/31/20
    17
    01/01/20   52      78      $162.5   $15.10    $22.6    38        $1,177.5   $2,038.2   $860.70
    18-                        0                  5                  0          0
    12/31/20
    18
    01/01/20   52      78      $170.0   $15.77    $23.6    38        $1,        $2,2128.   $898.70
    19-                        0                  5                  230.00     70
    12/31/20
    19
    01/01/20   51      78      $170.0   $15.77    $23.6    38        $1,        $2,2128.   $898.70
    20-                        0                  5                  230.00     70
    12/31/20
    20
    01/01/20   1       78      $170.0   $15.77    $23.6    38        $1,        $2,2128.   $898.70
    21-                        0                  5                  230.00     70
    01/10/20
    21




3 The hourly wage methodology consisted of dividing 40 by 7, for the additional
compensation that Plaintiff Argueta received for extra hours that he worked over the
course of seven days. The Court added this amount, $5.71, to Plaintiff Argueta’s daily
salary, $140, in 2015, multiplied it by seven and divided the number by 78 for the
hours that Plaintiff Argueta worked per week. See Inquest Mem. at 3.
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   Plaintiff Argueta thus far is entitled to unpaid overtime wages as follows:

$7,455.60 for weeks worked in 2015; $40,764.88 for weeks worked in 2016; $42,740.88

for weeks worked in 2017; $44,756.40 for weeks worked in 2018; $46,732.40 for weeks

worked in 2019; $45,833.70 for weeks worked in 2020; and $898.70 for weeks worked

in 2021. Thus, Plaintiff Argueta is entitled to $229,182.56 for unpaid overtime wages.

   Plaintiff Lucero’s damages for unpaid overtime are $52,776.00. Plaintiff Colin’s

unpaid overtime wages are $128,798.10. Plaintiff Argueta’s damages for unpaid

overtime are $229,182.56. The total amount in damages for unpaid overtime wages

is $410,756.66. These amounts differ significantly from Plaintiffs’ counsel’s damages

calculations for each Plaintiff’s unpaid overtime wages, which listed Plaintiff Lucero’s

unpaid overtime damages as $17,592.00, Plaintiff Colin’s unpaid overtime damages

as $42,929.76 and Plaintiff Argueta’s unpaid overtime wages as $76,394.62. See

Sackowitz Decl. Ex. A at 3-4.

          4. Spread-of-Hours Claims

      In addition to any claim for minimum wage or overtime, where an employee’s

workday exceeds 10 hours, the employee is entitled to receive one additional hour’s

pay at the basic minimum hourly rate. 12 N.Y.C.R.R. § 142-2.4(a). Under the NYLL,

employers must compensate employees who work a spread of hours “in excess of ten

an additional hour at the minimum wage rate.” Pineda v. Tokana Cafe Bar Restorant

Inc., No. 16-CV-1155 (JPO), 2017 WL 1194242, at *3 (S.D.N.Y. Mar. 30, 2017); 12

N.Y.C.R.R. § 146-1.5. An employee’s spread of hours is “the length of the interval



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between the beginning and end of an employee's workday[,] . . . [which] includes

working time plus time off for meals plus intervals off duty. 12 N.Y.C.R.R. § 146-1.6.

      Spread of hours is determined by “multiplying the minimum wage by the

number of days an employee worked more than ten hours.” Angamarca, 2012 WL

3578781, at *7.

      Plaintiff Argueta asserts that he “frequently worked shifts that spanned more

than ten hours and that Defendants failed to compensate him spread of hours pay for

shifts that spanned in excess of 10 hours per day. Compl. ¶ 52. Plaintiff Argueta

states that Defendants failed to compensate him spread of hours pay for shifts that

spanned in excess of 10 hours per day. Id. He stated that Defendants owe spread-of-

hours pay for four days each week from January 1, 2019 until the end of his

employment. Compl. ¶ 44.

      Upon review of Plaintiff Argueta’s Damages Calculations, Plaintiff’s counsel

incorrectly applied the minimum hourly wage rate as $15.00 from January 2019 to

December 30, 2019. Inquest Mem. at 15.

      According to Public Records, Shaker Contractors had five employees as

recently as 2022. The minimum hourly rate for small employers with 10 or fewer

non-fast food employees in New York City was $13.50 on and after December 31, 2018

and $15.00 on and after December 31, 2019. 12 N.Y.C.R.R. § 146-1.2.

      As such, Plaintiff Argueta’s correct “spread-of-hours” pay can be calculated as

demonstrated below:



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 Plaintiff       Pay Period    Number of SOH Days Minimum                 SOH      per
 Argueta                       weeks     per Week Wage                    pay period
                 01/01/2019-   52        4        13.50                   $2,808.00
                 12/31/2019
                 01/01/2020-   52           4              15.00          $3,120.00
                 12/31/2020
                 01/01/2021-   1             4             15.00          $60.00
                 01/10/2021
                                                                     Total: $5,988.00


      Plaintiff Argueta is entitled to $5,988.00 for “spread-of-hours” pay.

             5. Recordkeeping and Wage-Statement Claims

   The NYLL requires employers to provide employees with a wage notice and wage

statements containing the regular hourly rate and overtime rate of pay, designated

pay day, and frequency of pay at the time of hiring. N.Y. Lab. Law § 195(1)(a).

Employers must also provide a statement listing the time period covered by each

wage statement and the number of regular and overtime hours worked. N.Y. Lab.

Law § 195(3). Plaintiffs allege that at the time they were hired and throughout the

duration of their employment, Defendants never furnished any wage statement or

notice containing “their designated payday, . . . regular and overtime rates of pay, the

number of regular and overtime hours worked, gross wages, deductions and other

information as required under the NYLL §§ 195(1), 195(3). Compl. ¶¶ 53-55; N.Y.

Lab. Law §§ 195(1), 195(3). Where an employer fails to provide an employee with a

wage notice listing the information required under the NYLL § 195(1), within ten

business days of their first day of employment, an employee is entitled to recover

“fifty dollars for each work day that the violations occurred or continue to occur, but


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not to exceed a total of five thousand dollars.” N.Y. Lab. Law § 198(1-b). Similarly,

an employee is entitled to receive “two hundred fifty dollars for each work day” that

an employer violates N.Y. Lab. Law § 195(3), with such damages limited to five

thousand dollars. N.Y. Lab. Law § 198(1-d).

   Each Plaintiff worked over 100 days for Defendants and their allegations of the

ongoing wage notice and statement violations, which this Court accepts as true given

Defendants’ default, entitles Plaintiffs to recover the maximum amount of statutory

damages. As such, each Plaintiff is entitled to recover the statutory cap of $5,000

under the NYLL § 198(1-b) and the maximum $5,000 under the NYLL § 198(1-d).

Each Plaintiff shall be awarded an amount of $10,000 in damages for violations of

the NYLL’s wage notice and wage statement requirements. In total, Plaintiffs are

entitled to $30,000 in damages for violation of NYLL’s wage notice and wage

statement requirements.

         6. Timely Payment of Wages

   Defendants failed to pay Plaintiffs as often and as early as required by the NYLL.

See N.Y. Lab. Law § 191(1)(a). Employers are required to pay “weekly and not later

than seven calendar days after the end of the week in which the wages are earned.”

N.Y. Lab. Law § 191(1)(a). Plaintiffs “fit squarely” within the meaning of manual

workers under the NYLL. N.Y. Lab. Law § 190(4); see Cuzco v. Orion Builders, Inc.,

No. 06-CV-2789 (KMW) (THK), 2010 WL 2143662 (S.D.N.Y. May 26, 2010); see

(defining the term manual worker as a “mechanic, workingman or laborer”).



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   Under both the NYLL and FLSA, the remedy for untimely wages is limited to

liquidated damages. Humphrey v. RAV Investigative & Sec. Servs. Ltd., No. 12-CV-

3581 (NRB), 2016 WL 7190073 at *6 (S.D.N.Y. Nov. 29, 2016); N.Y. Lab. Law § 198(3).

In violation of NYLL § 191(1-a), Defendants are subject to liquidated damages “equal

to one hundred percent of the total amount of the wages found to be due,” as discussed

more fully below. N.Y. Lab. Law § 198(1-a).

         7. Bounced Checks

   In addition, Defendants paid Plaintiffs by means of checks which often did not

clear and therefore failed to pay Plaintiffs weekly wages on “numerous occasions” in

a timely manner. Proposed Findings ¶¶ 11,16, 21. Based on the bounced checks,

Plaintiffs request $4,000 for Plaintiff Lucero, $5,900 for Plaintiff Colin, and $4,300

for Plaintiff Argueta. See id. “An employer's paychecks bouncing may establish

liability for FLSA and NYLL minimum wage violations if the employee is underpaid

as a result.” Humphrey v. Rav Investigative & Sec. Servs. Ltd., 169 F. Supp. 3d 489,

498 (S.D.N.Y. 2016). While Plaintiffs have indicated the amounts for the Defendants’

checks that bounced and incorporated the amounts into each Plaintiff’s damages

calculations, they have not demonstrated any underpayment as a result. See Campos

v. BKUK 3 Corp., No. 18-CV-4036 (JGK) (KHP), 2021 WL 3540243, at *10 (S.D.N.Y.

Aug. 10, 2021), report and recommendation adopted, No. 18-CV-4036 (JGK), 2021

WL 3863198 (S.D.N.Y. Aug. 30, 2021), and report and recommendation adopted sub

nom. Macancela v. Kukaj, No. 18-CV-7507 (JGK), 2021 WL 3863266 (S.D.N.Y. Aug.

30, 2021) (recommending that plaintiffs not be awarded damages for bounced checks

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for failure to demonstrate damages for such checks whereas plaintiffs that submitted

documentation or information about when they incurred bank fees were entitled to

compensation).     Accordingly, Plaintiffs’ claims are insufficient to establish both

unpaid wages and for untimely payments made to plaintiffs as a result of bounced

checks. See Sackowitz Decl. Ex. A at 2-4.

            8. Liquidated Damages

   Plaintiff seeks duplicative liquidated damages under the FLSA and NYLL,

however, in the Second Circuit, “[t]here is no appellate authority as to whether a

plaintiff   may”   be   entitled   to   cumulative   or   ‘simultaneous’   or   ‘stacked’

liquidated damages under the FLSA and the NYLL, and district courts in the Second

Circuit “are deeply divided.” Inclan v. New York Hosp. Grp., Inc., 95 F. Supp. 3d 490,

505 (S.D.N.Y. 2015).      Some courts view the FLSA liquidated damages as a

compensation, whereas under NYLL they serve as a penalty to justify double recovery

due to the statutes’ “fundamentally different purposes.” Id.

   Other courts deem cumulative damages as inappropriate given the purpose of the

FLSA and the NYLL liquidated damages to deter wage-and-hour violations. Id. at

506. In the Second Circuit, plaintiffs are not entitled to receive double recovery for

damages under both federal and state wage law. Gamero, 272 F. Supp. 3d at 498. In

Rana v. Islam, the Second Circuit held that the plaintiff was not entitled to

duplicative recovery and vacated the liquidated damages award under the FLSA.

Rana v. Islam, 887 F.3d 118, 123 (2d Cir. 2018); id.; see also Tapia, 906 F.3d at 60–

61 (favoring liquidated damages under the NYLL over the FLSA and holding that the

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district court properly declined duplicative recovery under both statutes for

employees). The Second Circuit adopted the interpretation that declined cumulative

or “stacked” liquidated damages for the “same course of conduct.” Hernandez v.

Schloss, No. 12-CV-04339 (ALC), 2020 WL 1228644, at *3 (S.D.N.Y. Mar. 13, 2020);

see also Catzin v. Thank You & Good Luck Corp., 899 F.3d 77, 83 (2d Cir. 2018).

Given that the NYLL and FLSA liquidated damages are “materially identical,” the

Second Circuit awards only one liquidated damages award for the same injury. Id.

   The Southern District of New York in Inclan v. New York Hosp. Grp., Inc.

reasoned that that the distinction between the FLSA and the NYLL was

unpersuasive following 2009 because liquidated damages no longer turned on the

willfulness of the violations. Inclan, 95 F. Supp. 3d at 506. Because the state and

federal statutes no longer compensate plaintiffs for disparate harms, liquidated

damages are “essentially identical remedies.” Id. The Court thus declined to award

the plaintiffs cumulative damages under the FLSA and the NYLL. Id.

   Plaintiffs seek liquidated damages, which “are presumed unless defendants can

show subjective good faith.”    Campos, 2021 WL 3540243 at *8.        As a result of

Defendants’ default and failure to rebut the liquidated damages presumption and in

the absence of conduct of good faith, the Court presumes Defendants acted willfully

and in bad faith. See Inquest Mem. at 6. Plaintiffs in turn are entitled to liquidated

damages under the NYLL.

   Under the NYLL, a plaintiff is entitled to recover the “full amount of

underpayment, all reasonable attorney’s fees, [and] prejudgment interest as required

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under the civil practice law and rules[.]” N.Y. Lab. Law § 198. Employees are entitled

to receive “liquidated damages equal to one hundred percent of the total amount of

the wages found to be due.” Chowdhury v. Hamza Express Food Corp., 666 F. App'x

59, 60 (2d Cir. 2016); N.Y. Lab. Law § 198(1-a). This amount is equivalent to the

“amount owed to the Plaintiffs in unpaid wages, which includes unpaid minimum

wage, unpaid overtime, and unpaid spread-of-hours.” Villanueva v. 179 Third Ave.

Rest Inc., 500 F. Supp. 3d 219, 239 (S.D.N.Y. 2020), report and recommendation

adopted sub nom. Villanueva v. 179 Third Ave. Rest. Inc., No. 16-CV-8782 (AJN)

(RWL), 2021 WL 2139441 (S.D.N.Y. May 26, 2021). Plaintiffs’ liquidated damages

amount to the sum of their unpaid overtime wages and spread of hours pay.

   For Plaintiff Lucero, liquidated damages are $52,776.00. For Plaintiff Colin,

liquidated damages are $128,798.10. For Plaintiff Argueta, liquidated damages are

$235,170.56. In total, liquidated damages amount to $416,744.66.

         9. Pre-judgment Interest for Unpaid Wages

   Plaintiffs seek pre-judgment interest on claims for unpaid regular, overtime, and

spread of hour wages under the NYLL. Proposed Findings ¶ 91. Under the NYLL,

plaintiffs could recover both liquidated damages and pre-judgment interests. Chuk

On Chan v. Good Chows Inc., No. 16-CV-02794 (RJS) (SN), 2017 WL 9538901, at *6

(S.D.N.Y. Mar. 3, 2017), report and recommendation adopted, No. 16-CV-2794 (RJS)

(SN), 2017 WL 6550689 (S.D.N.Y. Dec. 21, 2017). As the Court recommends liquid

damages compensation only in accordance with the NYLL, plaintiffs are “eligible for

an award of prejudgment interest on the full ... damages arising out of his wage

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claims.” Elisama v. Ghzali Gourmet Deli Inc., No. 14-CV-8333 (PGG) (DF), 2016 WL

11523365, at *14 (S.D.N.Y. Nov. 7, 2016), report and recommendation adopted, No.

14-CV-8333 (PGG) (DF), 2018 WL 4908106 (S.D.N.Y. Oct. 10, 2018).

   The statutory pre-judgment interest rate according to the New York Civil Practice

Law and Rules is set at nine percent per year. N.Y. C.P.L.R. §5004(a).

   Where damages were “incurred at various times,” interest shall be calculated

based on “each item from the date it was incurred or upon all of the damages from a

single reasonable intermediate date.” Castellanos v. Mid Bronx Cmty. Hous. Mgmt.

Corp., No. 13-CV-3061 (JGK), 2014 WL 2624759, at *5 (S.D.N.Y. June 10, 2014; N.Y.

C.P.L.R. §5001(b). Courts have discretion to rely on a reasonable date to determine

when pre-judgment interest should accrue. Villanueva, 500 F. Supp. 3d at 243.

Where multiple periods of employment are involved, courts default to the midpoint of

the plaintiff’s employment within the limitations period. Id. Pre-judgment interest

should be awarded based on plaintiffs’ unpaid wages and unpaid spread of hours pay,

exclusive of the plaintiffs’ liquidated damages award. The Court finds the nine per

cent annum interest rate is warranted.

   Each Plaintiff’s employment must be looked at separately to calculate their pre-

judgment interest. Plaintiffs have submitted damages calculations with approximate

midpoints as follows: August 12, 2017 for Plaintiff Lucero; April 27, 2018 for Plaintiff

Colin, and June 1, 2018 for Plaintiff Argueta. Sackowitz Decl. Ex. A at 3-4.

   Multiplying the principal of each Plaintiff by an interest rate of 9% and by the

time period from each Plaintiffs’ respective midpoint date until the date of judgment

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to determine the time span in years, each Plaintiff is entitled to pre-judgment interest

which will be calculated by the Clerk of Court.

          10. Attorney’s Fees and Costs

   Courts in the Second Circuit have adopted a “presumptively reasonable fee”

standard, which considers all relevant case-specific factors to set a reasonable hourly

rate. Simmons v. New York City Transit Auth., 575 F.3d 170, 174 (2d Cir. 2009). The

reasonable hourly rate, is “what a reasonable paying client would be willing to pay.”

Arbor Hill Concerned Citizens Neighborhood Ass'n v. Cnty. of Albany & Albany Cnty.

Bd. of Elections, 522 F.3d 182, 190 (2d Cir. 2008). To calculate the “lodestar,” courts

look to what a reasonable client would be willing to pay,” given that the same client

also “wishes to spend the minimum necessary to litigate the case effectively.” Id. at

184, 190. In determining a reasonable hourly rate, courts conduct a case-specific

inquiry that considers factors including but not limited to: (1) the complexity and

difficulty of the matter; (2) the expertise of counsel; (3) resources necessary to

effectively prosecute the case; (4) the timing demands of the case; (5) whether an

attorney may have expressed interest in representing the case or would have offered

services pro-bono; (6) the client’s negotiating power; and (7) the attorney’s interest in

the case given their potential reputational gain. Id. at 190. In addition, courts in this

Circuit account for market rates in the community for “similar services by lawyers of

reasonably comparable skill, experience, and reputation.” Konits v. Karahalis, 409

F. App'x 418, 422 (2d Cir. 2011). To determine the reasonable hourly rate for the



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attorney’s work, these case-specific considerations should then be multiplied by “a

reasonable number of hours expended to reach the presumptively reasonable fee.” Id.

   Four timekeepers were identified in this matter: Kenneth Katz, Adam Sackowitz,

Eliseo Cabrera, and Nicola Ciliotta. Inquest Mem. at 16. Mr. Katz lists an hourly

rate of $500.00 per hour (who has practiced employment law for approximately 17

years.) Id.

   Mr. Sackowitz’s hourly rate is listed as $375.00. Mr. Sackowitz has practiced

employment law for “nearly 7 years.” Id.

   Mr. Cabrera is an associate at the firm and has “focused his practice on

employment law” for approximately 3 years. Id. Mr. Cabrera’s hourly rate is listed

as $325.00. Id.

   Mr. Ciliotta was an associate at the firm and practiced employment law for 3

years. Id. Mr. Ciliotta’s hourly rate was $325.00. Id.

   Plaintiffs have submitted a copy of Plaintiffs’ counsel’s time records setting forth

the hours worked on this matter. Sackowitz Decl. Ex. B at 2-3.

   Courts in the Southern District of New York have determined a fee in the range

from $250 to $450 as appropriate for experienced employment law litigators. Chuk

On Chan, 2017 WL 9538901 at *7.             Moreover, a reasonable rate for senior

employment attorneys dealing with wage-and-hour cases typically ranges from $300-

$400 per hour, with $300 awarded for senior associates with eight or more years of

experience. See Martinez v. Paramount Country Club, LLC, No. 18-CV-04668 (VB)

(JCM), 2019 WL 2450856, at *4 (S.D.N.Y. Apr. 1, 2019), report and recommendation

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adopted, No. 18-CV-4668 (VB), 2019 WL 2171109 (S.D.N.Y. May 20, 2019); see also

YUAJIAN LIN, et al., Plaintiffs, v. LA VIE EN SCHEZUAN RESTAURANT CORP.,

et al. Defendants. Additional Party Names: Savour Sichuan Inc., Yi Zhang, Yu

Huang, Zhong Qing Wang, No. 15-CV-09507 (DF), 2020 WL 1819941, at *3 (S.D.N.Y.

Apr. 9, 2020). Both the Southern District of New York and the Eastern District of

New York have reduced the rates of experienced employment lawyers engaged in

FLSA and NYLL litigation to the low end of the identified range, $300.00, in cases

where the lawyer’s trial performance lacked “skill and/or professionalism.” Id.

   In assessing the reasonableness of attorneys’ fees, the Court evaluates the quality

of the attorney’s work. Schalaudek v. Chateau 20th St. LLC, No. 16-CV-11 (WHP)

(JLC), 2017 WL 729544, at *12 (S.D.N.Y. Feb. 24, 2017), report and recommendation

adopted as modified, No. 16-CV-11, 2017 WL 1288859 (S.D.N.Y. Apr. 6, 2017), order

amended and superseded, No. 16-CV-11, 2017 WL 1968677 (S.D.N.Y. May 11, 2017),

and report and recommendation adopted as modified, No. 16-CV-11, 2017 WL

1968677 (S.D.N.Y. May 11, 2017); Id.

   The Court takes issue with the quality of Plaintiffs’ representation given their

incorrect damages calculations. See Sackowitz Decl. Ex. A. at 3-4; see Harris v.

Fairweather, No. 11-CV-2152 (PKC) (AJP), 2012 WL 3956801, at *8 (S.D.N.Y. Sept.

10, 2012), report and recommendation adopted, No. 11-CV-2152 (PKC) (AJP), 2012

WL 5199250 (S.D.N.Y. Oct. 19, 2012) (holding that the poor quality of counsel’s work

in association with the inquest, which included numerous errors, warranted a

reduction in attorneys’ fees); see also Gesualdi v. Cirillo, No. 09-CV-4570 (KAM)

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(JMA), 2011 WL 666196, at *5 (E.D.N.Y. Jan. 3, 2011), report and recommendation

adopted, No. 09-CV-4570 (KAM) (JMA), 2011 WL 666197 (E.D.N.Y. Feb. 14, 2011)

(recommending a reduction in the total number of hours billed and total

compensation due to the “many calculation errors . . . and the considerable time this

Court had to spend to rectify them”). Plaintiffs’ counsel miscalculated each Plaintiff’s

damages awards, which included incorrect amounts for unpaid overtime wages,

liquidated damages, spread of hours pay for Plaintiff Argueta, and the addition of

unpaid late wages into each Plaintiff’s cumulative damages. See Sackowitz Decl. Ex.

A. at 3-4. In addition, Plaintiffs’ counsel computed the lawful overtime wage as half

of each Plaintiff’s hourly wage as opposed to multiplying the regular hourly wage by

1.5 to determine the overtime wage amount. See id.

   In addition to the court’s “own knowledge of reasonable rates in the district,”

courts may also account for reasonable hourly rates approved in prior cases. Galeana

v. Lemongrass on Broadway Corp., 120 F. Supp. 3d 306, 323 (S.D.N.Y. 2014).

According to the Court’s own research, this District had previously declined to award

Mr. Katz a requested rate of $425, with 6 years of experience as a partner at Katz

Melinger. See Martinez, 2019 WL 2450856, at *4 (recommending a reduction in Mr.

Katz’s rate to $400, consistent with reasonable hourly rates generally approved in

this District). The Court finds a reduction appropriate given that the Defendants’

default and the absence of a “novel or complex legal or factual” question. Burns v.

Scott, No. 20-CV-10518 (JGK), 2022 WL 10118491, at *14 (S.D.N.Y. Oct. 17,

2022), reconsideration denied, No. 20-CV-10518 (JGK), 2022 WL 18858909 (S.D.N.Y.

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Nov. 9, 2022); see also Xochimitl, 2016 WL 4704917 at *20 (finding it appropriate to

award attorney’s fees at lower rates in cases that were “relatively simple” due to the

Defendants’ default); see also Galeana, 120 F. Supp. 3d at 324 (reducing the hourly

rate of a managing member of a law firm from $450 to $425 to reflect the

“straightforward procedure” of the case and the lack of “novel or complex issues

arising from the claims”).

   In addition, courts in this District have found it appropriate to reduce Mr.

Sackowitz’s rate from $300 to $250, given his five years of experience at the time. See

Martinez, 2019 WL 2450856, at *4.

   Moreover, the four timekeepers have not demonstrated a significant distinction

between their prior cases and the one at hand that would call for the rates requested.

See Smith v. Digital Soc. Retail, Inc., No. 18-CV-6602 (RA), 2019 WL 5450397, at *3

(S.D.N.Y. Oct. 24, 2019)

   In light of this, the Court will reduce the billing rates to $450.00 for Mr. Katz;

$350.00 for Mr. Sackowitz; and $300.00 for Mr. Cabrera and Mr. Ciliotta. Plaintiffs

indicated 67.90 hours of work on this matter. Sackowitz Decl. Ex. B at 3. Given the

simple nature of this matter and the resulting default, the Court finds these hours

reasonable. The Court recommends that attorney fees be awarded with a reduction

in billing rates.

   Plaintiffs are entitled to recover costs incurred from the Defendants. N.Y. Lab.

Law § 663(4). Plaintiffs seek $1,1338.20 in costs, covering fees related to filing,



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process server, and translation. The Court finds $1,338.20 a reasonable amount for

costs expended in connection with this action.

   In sum, the Court finds the reasonable amount of attorney’s fees and costs is

$22,913.20.

         11. Post-Judgment Interest

   Finally, Plaintiffs seek post-judgment interest pursuant to the NYLL §198(4). The

NYLL requires that in any civil action, “[a]ny judgment or court order awarding

remedies” that “remain[s] unpaid upon the expiration of ninety days following

issuance of judgment, or ninety days after expiration of the time to appeal and no

appeal is then pending, whichever is later, the total amount of judgment shall

automatically increase by fifteen percent.” N.Y. Lab. Law §198(4). As this request is

in accordance with NYLL provisions, Plaintiffs are entitled to post-judgment interest

in an amount consistent with NYLL §198(4). See Elisama, 2016 WL 11523365 at *19.

                              RECOMMENDATION

      For the reasons stated above, this Court recommends that Plaintiffs be

awarded damages as follows: (1) damages for unpaid overtime wages under the NYLL

in the amount of $410,756.66; (2) damages for unpaid spread-of-hours-pay under the

NYLL in the amount of $5,988.00; (3) damages for statutory violations of wage notice

and wage statement provisions of the NYLL in the amount of $30,000; (4) liquidated

damages in the amount of $416,744.66; (5) attorney’s fees and costs in the amount of

$22,913.20; and (6) pre- and post-judgment interest, which will be calculated by the

Clerk of Court in the event this Report is adopted.

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 FILING OF OBJECTIONS TO THIS REPORT AND RECOMMENDATION

      Pursuant to 28 U.S.C. § 636(b)(1) and Rule 72(b) of the Federal Rules of Civil

Procedure, the parties shall have fourteen days from service of this Report to file

written objections. See also Fed. R. Civ. P. 6. Such objections, and any responses to

objections shall be filed with the Clerk of Court and on ECF. Any requests for an

extension of time for filing objections must be directed to Judge Schofield. Failure

to file objections within fourteen days will result in a waiver of objections

and will preclude appellate review. See Thomas v. Arn, 474 U.S. 140 (1985);

Cephas v. Nash, 328 F.3d 98, 107 (2d Cir. 2003).



      SO ORDERED.

DATED:       New York, New York
             April 21, 2023
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                                              JENNIFER E. WILLIS
                                              United States Magistrate Judge




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